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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

  In Re:
                                                                                        Chapter 7
                                                                       Case No. 22-42017-MXM-7
  TRISTEN HINDS, Debtor,
  PENNYMAC LOAN SERVICES, LLC , Creditor,



           NOTICE OF APPEARANCE AND REQUEST TO RECEIVE NOTICES



           Comes now BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP pursuant to

  Bankruptcy Rules 2002, 9007, 9008 and 9010, and files this Notice of Appearance and

  Demand for Service of Papers as Counsel for PENNYMAC LOAN SERVICES, LLC, party in

  interest in the captioned proceedings.

           Request is hereby made that all notices given or required to be given in this case and in

  any cases consolidated herewith, and all papers served or required to be served in this case and

  in any cases consolidated herewith, be given to and served upon the undersigned attorneys at

  the address and telephone number as follows:

                   BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
                               4004 Belt Line Rd Ste. 100
                                 ADDISON, TX 75001
                                    (972) 386-5040

           This request encompasses all notices and pleadings including, without limitation,

  notices of any orders, motions, pleadings or requests, formal or informal applications,

  disclosure statement or plan of reorganization or any other documents brought before this

  Court in this case.

              This Notice of Appearance shall not be construed as authorization to serve counsel


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  for PENNYMAC LOAN SERVICES, LLC with any summons and complaint or any service

  of process under Bankruptcy Rule 7001, et. seq. The undersigned firm will not accept service

  of process in any adversary case for PENNYMAC LOAN SERVICES, LLC.

          BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP, additionally requests that

  the Debtor and the Clerk of the Court place the name and address of the undersigned attorney

  on any mailing matrix to be prepared or existing in the above-numbered case, and on any list

  of creditors to be prepared or existing in the above-numbered bankruptcy case.


                                           BARRETT DAFFIN FRAPPIER
                                           TURNER & ENGEL, LLP


                                     BY: /s/ ABBEY U DREHER                        10/12/2022
                                         ABBEY U DREHER
                                         TX NO. 24051459
                                         4004 Belt Line Rd Ste. 100
                                         ADDISON, TX 75001
                                         Telephone: (972) 386-5040
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                                         ATTORNEY FOR CREDITOR




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                                      CERTIFICATE OF SERVICE

       I hereby certify that on October 12, 2022, a true and correct copy of the Notice of

 Appearance and Request for Duplicate Notice was served via electronic means as listed on the

 Court's ECF noticing system or by regular first class mail to the parties listed on the attached list.



                                            Respectfully submitted,

                                            BARRETT DAFFIN FRAPPIER
                                            TURNER & ENGEL, LLP


                                            BY: /s/ ABBEY U DREHER                         10/12/2022
                                                ABBEY U DREHER
                                                TX NO. 24051459
                                                4004 Belt Line Rd Ste. 100
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                                                Telephone: (972) 386-5040
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                                                E-mail: NDECF@BDFGROUP.COM
                                                ATTORNEY FOR CREDITOR




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 BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

 DEBTOR:
 TRISTEN HINDS
 8156 BLACK ASH DR
 FORT WORTH, TX 76131-3517

 DEBTOR'S ATTORNEY:
 MATTHEW F WEGNER
 9500 RAY WHITE BLVD
 SUITE 200
 FORT WORTH, TX 76248

 TRUSTEE:
 BEHROOZ P. VIDA
 3000 CENTRAL DRIVE
 BEDFORD, TX 76021




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